          Case 23-31447 Document 219 Filed in TXSB on 03/14/24 Page 1 of 9
                                                                                    United States Bankruptcy Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                     IN THE UNITED STATES BANKRUPTCY COURT                                March 14, 2024
                       FOR THE SOUTHERN DISTRICT OF TEXAS                               Nathan Ochsner, Clerk
                                 HOUSTON DIVISION

IN RE:                                        §
PALASOTA CONTRACTING, LLC                     §       CASE NO. 23-31447-H5-11
      DEBTOR                                  §            (Chapter 11)

                     ORDER CONFIRMING PLAN OF REORGANIZATION
                         (Regarding Docket No. 123, 124, 134 and 146)

        Pursuant to this Court’s Order Under 11 U.S.C. §1125 and Fed. R. Bankr. P. 3017
Conditionally Approving Disclosure Statement and Fixing Deadlines for Voting and Objections
and Setting Final Hearing on Disclosure Statement and Confirmation Hearing (Docket 108), the
Court set a hearing for September 22, 2023, which was continued to October 12, 2023, to
consider final approval of the Disclosure Statement and confirmation of the First Amended
Chapter 11 Plan of Reorganization Submitted by Palasota Contracting, LLC (Docket 146)
(“Plan”). After considering the evidence presented and the arguments of counsel, the Court finds
as follows:

        1.     The findings of fact and conclusions of law pursuant to Fed. R. Bankr. P. 7052,
made applicable to this proceeding pursuant to Fed. R. Bankr. P. 9014. To the extent any
findings of fact constitute conclusions of law, they are adopted as such. To the extent any
conclusions of law constitute findings of fact, they are adopted as such. Furthermore, any
findings of fact and conclusions of law made by the Court on the record are incorporated herein
by reference.

         2.     On August 22, 2023, Palasota Contracting, LLC (“Debtor”), through counsel,
filed its proposed (i) Disclosure Statement and (ii) Plan (Dockets 104, 105). On August 22, 2023,
the Debtor filed and served its Motion for Conditional Approval of Disclosure Statement
(Docket 1106). On August 24, 2023, an Order Conditionally Approving the Disclosure
Statement, Giving Notice of Hearing on Final Approval, and Confirmation of Chapter 11 Plan,
and Setting Certain Deadlines was entered (Docket 108).

         3.      On August 25, 2023, the Debtor served the (i) Disclosure Statement, (ii) the Plan,
(iii) the Order Conditionally Approving the Disclosure Statement, and (iv) ballots to vote on the
Plan to all creditors and parties-in-interest. Proof of service of the foregoing was filed with the
Court by the Debtor on August 28, 2023 (Docket 112). The notice provided by the Debtor
satisfies the requirements of all applicable Federal Rules of Bankruptcy Procedure, including, but
not limited to, Rules 2002(a), (b), (c), (d), (j), and (k) and is adequate and proper in all respects
under the circumstances of this case.

       4.     Following the filing of creditors’ objections to the proposed Plan, the Debtor
amended its Plan. Following the October 20, 2023 confirmation hearing, on November 9, 2023,
this Court entered its Order denying confirmation (Docket 178). The Debtor subsequently
amended its Plan. On January 24, 2024, the Debtor filed its Fifth Amended Plan (Docket 190).



4887-0125-4020 v.1
          Case 23-31447 Document 219 Filed in TXSB on 03/14/24 Page 2 of 9




Pursuant to this Court’s January 26, 2024, Order, the Debtor served the conditionally approved
Disclosure Statement and Fifth Amended Plan (Docket 198).

B.       Jurisdiction, Venue, and Constitutional Authority

        5.     The Court has jurisdiction over this matter pursuant to 28 U.S.C. §157 and 1334
and the Standing Order of Reference of the United States Bankruptcy Court for the Southern
District of Texas. This is a core matter under 28 U.S.C. §157(b)(2)(L).

         6.          Venue is proper in this District pursuant to 28 U.S.C. § 1408.

       7.      The Court has constitutional authority to enter a final order confirming the Plan.
Confirmation of a plan of reorganization is an essential bankruptcy matter which triggers the
“public rights” exception.

         8.          The Debtor is authorized to be a debtor under 11 U.S.C. § 109.

        9.     All parties (including, without limitation, all taxing authorities and other
Governmental Units entitled to notice and all known equity interest holders required to be given
notice of the Confirmation Hearing, including notice of the deadline for filing and serving
objections to confirmation of the Plan, have been given proper, timely, and adequate notice in
accordance with the Federal Rules of Bankruptcy Procedures and have had an ample opportunity
to appear and be heard with respect thereto. No other or further notice is necessary or required.

        10.     Pursuant to 11 U.S.C. § 1125(d), the Debtor’s transmittal of the Plan and its
solicitation of acceptances of the Plan are not and will not be governed by or subject to any
otherwise applicable law, rule, or regulation governing the solicitation or acceptance of a plan or
the offer, issuance, sale, or purchase of securities. Accordingly, the Debtor (and its agents,
employees, members, and professionals) are entitled to the good faith protections of 11 U.S.C. §
1125(e).

Voting

      11.     Votes to accept and reject the Plan have been solicited and tabulated fairly, in
good faith, and in a manner consistent with the Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the Orders of the Court.

The Disclosure Statement and Plan Satisfy the Requirements of the Bankruptcy Code

       12.     The Disclosure Statement contains adequate information in accordance with 11
U.S.C. § 1125.

       13.    The Plan complies with all applicable provisions of the Bankruptcy Code. 11
U.S.C. § 1129(a)(1).




4887-0125-4020 v.1
          Case 23-31447 Document 219 Filed in TXSB on 03/14/24 Page 3 of 9




      14.    The Plan is dated and identifies the Debtor as the proponent of the Plan. FED. R.
BANKR. P. 3016(a). In proposing the Plan, the Debtor has complied with all provisions of the
Bankruptcy Code. 11 U.S.C. § 1129(a)(2).

        15.     The Plan designates and classifies Claims and Interests. 11 U.S.C. § 1123(a)(1).
The classification of Claims and Interests under the Plan complies with 11 U.S.C. § 1122. Each
Claim and Interest placed in a particular class pursuant to the Plan is substantially similar to the
other Claims or Interests, as the case may be, in such class. A reasonable basis exists for the
classifications in the Plan.

       16.    The Plan specifies each class of Claims or Interests that is not impaired under the
Plan. 11 U.S.C. § 1123(a)(2).

       17.    The Plan specifies the treatment of each class of Claims and Interests that is
impaired under the Plan. 11 U.S.C. § 1123(a)(3).

        18.     The Plan provides the same treatment for each Claim or Interest of a particular
class, unless the holder of a particular Claim or Interest has agreed to a less favorable treatment
of such particular Claim or Interest. 11 U.S.C. § 1123(a)(4).

         19.         The Plan provides adequate means for its implementation. 11 U.S.C. § 1123(a)(5).

        20.    The Plan provides for the assumption and rejection of executory contracts and
leases in a manner consistent with the Bankruptcy Code. 11 U.S.C. § 1123(b)(2).

       21.     The Debtor has complied with the applicable provisions of the Bankruptcy Code,
including, without limitation, the disclosure and solicitation requirements under 11 U.S.C. §§
1125 and 1126 of the Bankruptcy Code. 11 U.S.C. §§ 1129(a)(2), 1125, and 1126.

       22.      The Plan has been proposed in good faith and is not by any means forbidden by
law. 11 U.S.C. § 1129(a)(3). The Plan has been proposed for valid business purposes, to
effectuate the reorganization of the Debtor’s financial affairs, to satisfy obligations of the Debtor,
and to provide relief under Chapter 11 of the Bankruptcy Code to the Debtor, the Debtor’s
Creditors, and the Debtor’s Interest Holders.

       23.    All payments made or to be made by the Reorganized Debtor/Plan Agent under
the Plan, for services or for costs and expenses in or in connection with the Case, or in
connection with the Plan and incident to the Case, are subject to the approval of the Court as
reasonable. 11 U.S.C. § 1129(a)(4).

       24.     The Plan provides that Ricky Palasota, Jr. will serve as Plan Agent under the Plan
in accordance with 11 U.S.C. § 1129(a)(5). Ricky Palasota, Jr. is confirmed as the Plan Agent
with full authority to carry out the Plan.

         25.         The Plan does not require any governmental approvals. 11 U.S.C. § 1129(a)(6).




4887-0125-4020 v.1
          Case 23-31447 Document 219 Filed in TXSB on 03/14/24 Page 4 of 9




        26.    With respect to each impaired class of Claims or Interests, each holder of an
impaired Claim or Interest in such class has accepted the Plan or will receive or retain under the
Plan on account of such Claim or Interest property of a value, as of the Effective Date, that is not
less than the amount that such holder would receive or retain if the Debtor was liquidated under
chapter 7 of the Bankruptcy Code on the Effective Date. 11 U.S.C. § 1129(a)(7).

        27.    Each class of Claims and Interests has accepted the Plan (11 U.S.C. §
1129(a)(8)(A)), is not impaired under the Plan (11 U.S.C. § 1129(a)(8)(B)), or the Plan does not
                                                                            xxxxxxxxxxxxxxxx
discriminate  unfairly and is fair and equitable with respect to such class of Claims and/or
xxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxx
Interests (11 U.S.C. § 1129(b)(1)).
xxxxxxxxxxxxxxxxxxxxxxxxxxxxx

        28.    Except to the extent that the holder of a particular Claim has agreed to a different
treatment of such Claim, the Plan provides that, with respect to a Claim of a kind specified in 11
U.S.C. 507, on the later of (i) the Distribution Date, (ii) the date on which such Claim becomes
an Allowed Claim; or (iii) such other date as the Plan Agent and the holder of the Claim shall
agree, the holder of such Claim will receive on account of such Claim cash in an amount equal to
the Allowed amount of such Claim subject to and in accordance with the terms of the Plan. 11
U.S.C. § 1129(a)(9)(A) and (B).

       29.     Confirmation of the Plan is not likely to be followed by the liquidation, or the
need for further financial reorganization of the Debtor except as specifically set forth in the Plan.
11 U.S.C. § 1129(a)(11).

        30.    The Plan has been accepted by Creditors that hold at least two-thirds in amount
and more than one-half in number of the Allowed Claims in Class 12 that have voted to accept or
reject the Plan. 11 U.S.C. §§ 1126 and 1129(a)(10). Classes 1, 2, 10, and 11 are not impaired
under the Plan.

       30.    At least one class of Claims or Interests that is Impaired under the Plan has
accepted the Plan, determined without including any acceptance of the Plan by any Insider. 11
U.S.C. § 1129(a)(10).

        31.    The Plan Agent shall timely pay on the Effective Date all pre-confirmation
quarterly fees owed to the United States Trustee. 11 U.S.C. § 1129(a)(12). The Plan Agent shall
also pay post-confirmation quarterly fees assessed pursuant to 28 U.S.C. § 1930(a)(6) within
thirty (30) days of the date that such payments are due, until such time as the Court enters a final
decree closing the case, or enters an order either converting the case to a case under chapter 7 or
dismissing the case. After confirmation, the Plan Agent shall file with the Court and shall
transmit to the United States Trustee a true and correct statement of all disbursements for each
quarter, or portion thereof, that the Debtor’s case remains open in a format prescribed by the
United States Trustee.

       32.    The Debtor does not have obligations for the payment of retiree benefits, making
11 U.S.C. § 1129(a)(13) of the Bankruptcy Code irrelevant. 11 U.S.C. § 1129(a)(13).

         33.         All applicable requirements of 11 U.S.C. § 1129(a) have been met.



4887-0125-4020 v.1
          Case 23-31447 Document 219 Filed in TXSB on 03/14/24 Page 5 of 9




         34.    The modifications and clarifications made herein to the Plan do not cause the Plan
to fail to meet the requirements of 11 U.S.C. § 1122 and 1123 and, pursuant to 11 U.S.C. § 1127,
do not adversely change the treatment of any Claim of any Creditor or the Interest of any Interest
Holder who has not accepted the modification. Fed. R. Bankr. P. 3019.

       35.    The primary purpose of the Plan is not avoidance of taxes or avoidance of the
requirements of Section 5 of the Securities Act of 1933, as amended.

         Accordingly, it is hereby ORDERED THAT:

Approval of the Disclosure Statement and Confirmation of the Plan

         36.         The Disclosure Statement is finally approved.

         37.    The Plan, a copy of which is attached hereto as Exhibit 1, as modified herein, is
confirmed in all respects, regardless of whether specific reference is made herein to a particular
article, paragraph, exhibit, or provision of the Plan. The terms of the Plan are incorporated by
reference into, and are an integral part of, this Order. However, in the event of a discrepancy
between the Plan and this Order, the terms of this Order control.

      38.     The Plan Agent and the Reorganized Debtor are authorized and directed to
implement the Plan in accordance with the terms thereof and to take any and all actions
contemplated to be taken under the Plan.

        39.    The provisions of the Plan and this Order are binding on the Reorganized Debtor,
the Plan Agent, and any holder of a Claim or Interest, whether or not the Claim or Interest is
impaired under the Plan and whether or not the holder of such Claim or Interest has accepted the
Plan. All objections to confirmation of the Plan that have not been resolved through amendments
to the Plan or withdrawn prior to the entry of this Order or that are not cured by the relief granted
herein are overruled in all respects. All withdrawn objections are deemed withdrawn with
prejudice.

       40.   On the Effective Date, the Reorganized Debtor and the Plan Agent are authorized
to consummate the Plan and the transactions contemplated thereby.

        41.     The holders of Secured Priority Tax Claims, including but not limited to the
Texas Comptroller, US Customs Border Protection, and all local ad valorem taxing authorities,
shall retain their tax liens until such Claims are paid in full.

        42.    Class 11 consists of the Claims of the Texas Comptroller, Texas Workforce
Commission, and any other applicable taxing authorities. Allowed Priority Tax Claims that are
secured claims shall be entitled to interest at the rate provided by applicable law, which is 9.5%
as of January 2, 2024.




4887-0125-4020 v.1
          Case 23-31447 Document 219 Filed in TXSB on 03/14/24 Page 6 of 9




        43.     Notwithstanding anything else to the contrary in the Plan or this Confirmation
Order, the Texas Comptroller of Public Accounts (the “Texas Comptroller”) and the Texas
Workforce Commission each reserves the following rights: (1) any statutory or common law
setoff rights in accordance with 11 U.S.C. § 553; (2) any rights to pursue any non-debtor third
parties for tax debts or claims; (3) the payment of interest on the respective agency’s
administrative expense tax claims, if any; (4) to the extent that interest is payable with respect to
any administrative expense, priority or secured tax claim, the statutory rate of interest pursuant to
Texas Tax Code 111.060; and (5) neither the Texas Comptroller or the Texas Workforce
Commission is required to file a motion or application for payment of administrative expense
claims pursuant to 11 U.S.C. § 503(b)(1)(D) and such post-petition tax claim(s) may instead be
paid as and when they arise in the ordinary course of business of the Reorganized Debtor or any
successor in interest to such entities.

       44.    Notwithstanding anything else to the contrary in the Plan or this Confirmation
Order, the Texas Comptroller and TWC each retains the ability to collect on debts from
Reorganized Debtor, and any successor in interest, to the maximum ability as allowed by law.
The Comptroller and the TWC retain any liens to which they are entitled under applicable state
law.

        45.    Except as to payments made on Allowed Secured Claims which will be made in
accordance with the underlying loan documents in Classes 3 through 9, and except as to
payments to be made to Brazos County which will be made in accordance with the terms set
forth in the confirmed Plan as to Class 10, a failure by the Reorganized Debtor to make a plan
payment shall be an Event of Default. If the Reorganized Debtor or any successor in interest fails
to cure an Event of Default within ten (10) days after service of a written notice of default, then
that creditor may (a) exercise any and all rights and remedies available under applicable non-
bankruptcy law; and (b) seek such relief as may be appropriate in this court. The Reorganized
Debtor and/or any successor in interest can receive up to three (3) notices of default.

       46.    Notice of the default shall be served by first class mail at: 3407 Tabor Road,
Bryan, Texas 77808, Attn: Ricky Palasota, Jr., and upon Debtor’s attorney at: Waldron &
Schneider, PLLC, 15150 Middlebrook Drive, Houston, TX 77058, Attn: Kimberly Bartley.

Miscellaneous

        47.    Pursuant to 11 U.S.C. § 1146, any issuance, transfer, or exchange of any security
under the Plan or the making or delivery of any instrument of transfer or of an asset pursuant to
or under the Plan shall not be taxed under any law imposing a stamp tax or other similar tax, or
to the extent of any tax the Debtor shall remain solely responsible thereon. This will apply
particularly with respect to the return of any collateral under repossession or prior foreclosure as
otherwise provided as to Class 4 or any other secured creditor class.

        48.    For good cause shown, the limitations of Fed. R. Bankr. P. 3002 and 6004 are
waived. This Order is not stayed and shall become effective immediately upon its entry. The
Effective Date of the Plan shall be determined in accordance with the terms of the Plan.




4887-0125-4020 v.1
          Case 23-31447 Document 219 Filed in TXSB on 03/14/24 Page 7 of 9




       49.     The failure to reference or discuss any particular Plan provision in this Order shall
have no effect on the validity, binding effect, and enforceability of such provision and such
provision shall have the same validity, binding effect, and enforceability as provisions of the
Plan expressly approved herein.

        50.     All objections to Claims and Equity Interests shall be filed and served in
accordance with the terms of the Plan. This Order is hereby declared to be in recordable form,
and shall be accepted by any recording officer for filing and recording purposes without further
or additional orders, certifications, or other supporting documents.

        51.      The Plan Agent, on behalf of the Reorganized Debtor, is authorized pursuant to
11 U.S.C. § 1142(b) to (i) take all action which requires approval of this Court to effect the Plan;
and (ii) issue, execute, deliver, file, or record any documents, and to take any action necessary or
appropriate to implement, effectuate, and consummate the Plan, and the matters contemplated by
this Order, in accordance with their respective terms, whether or not specifically referred to in
the Plan or any exhibit thereto and without further application to or order of this Court.

        52.    The Plan Agent may destroy or otherwise abandon any files, documents, or
electronic information without notice following the expiration of fourteen (14) days from the
Distribution Date.

        53.     The Clerk shall promptly serve notice of the entry of this Order pursuant to Fed.
R. Bankr. P. 2002(f)(7) on all Creditors, Interest Holders, and other parties in interest. The Plan
Agent shall mail a copy of this Order and Notice of the Effective Date to all known holders of
Claims and Equity Interest (which have not become Disallowed as of the date of mailing). Such
notice shall be mailed within seven (7) Business Dates of the Effective Date.

        54.      After the date of this Order, this Court shall retain jurisdiction over the Chapter 11
Case according to applicable law and the provisions of the Plan, including but not limited to
jurisdiction to interpret and enforce the provisions of this Order.

        55.     Except as otherwise provided for in the Plan, save and except for Encore Bank,
any bank or financial institution holding funds of Palasota Contracting, LLC is directed to
immediately deliver control over such funds to Ricky Palasota, Jr. as Plan Agent and/or any
individuals designated by Ricky Palasota, Jr. Nothing in this Order shall prohibit Ricky Palasota,
Jr. from seeking relief from the Court pursuant to 11 U.S.C. § 362(k) against any person, bank,
or financial institution in violation of this provision. Encore Bank is authorized to retain funds in
the approximate amount of $43,652.98 and apply such balance to the Debtor’s outstanding loan
balance.

        56.    With respect to Class 4, the Plan is further amended as to Class 4 to provide that
the agreed deficiency balance owed to CCG shall not be less than $881,461.22 plus any amounts
CCG may be required to pay for personal property taxes on the units previously sold.1
Additionally, the Debtor is required to sign an amended and restated promissory note and

1
  The deficiency balance may be higher if unpaid ad valorem taxes or there exists other diminution in the value of
the collateral.


4887-0125-4020 v.1
          Case 23-31447 Document 219 Filed in TXSB on 03/14/24 Page 8 of 9




security agreement and sign appropriate other documents evidencing perfection continuing in the
same form and substance of the existing loan documents for the deficiency balance with the
following items listed as collateral:

Description                                                             VIN / Ser No.
2014 Mack GU813 Concrete Mixer truck w/ Mack MP7 6-cylinder             1M2AX13CXEM023566
diesel engine, Allison automatic transmission
2006 Vogele 2219W Wheeled Paver                                         30660

2014 Hamm H11IX Vibratory Padfoot Compactor                             H2100141
2014 Hamm HD11iP Roller                                                 H2110078
2012 International 7400 6x4 Digger Derrick Truck with 201 2             1HTWJAAT2CJ587082
Texoma 650 Drill

For the avoidance of doubt, the Debtor confirms that CCG shall retain its first lien position on
the collateral identified above and reserves all rights with respect to same. CCG’s transfer of the
2014 Mack GU813 Concrete Mixer Truck and 2006 Vogele 2219W Wheeled Paver as provided
in Class 4’s treatment shall be deemed purchased and acquired by the Debtor from CCG under a
purchase money security interest, and shall comprise additional collateral securing CCG’s
Allowed Secured Claim.

        57.    With respect to the allegations raised by Smith Pump Company, a subcontractor
of the Debtor asserting a trust fund claim for services rendered in the amount of $40,425.00, the
Debtor shall pay such claim in monthly minimum payments of $5,000.00 per month beginning
30 days following the effective date of the Plan until the remaining job is completed, at which
time the remaining balance shall be due in full. Payments shall be made to attn: Lea Swanson,
Credit and Collections Manager, 301 M-B Industrial, Waco, Texas 767812.

        58.    Legally Binding Effect. The provisions of this Plan shall bind all Creditors and
Interest Holders, whether or not they accept this Plan. On and after the Effective Date, except as
otherwise provided under the Plan, all holders of Claims shall be precluded and enjoined from
asserting any Claim (i) against the Debtor, or its assets or properties based on any transaction or
other activity of any kind that occurred prior to the Effective Date; and (ii) for any derivative
claims, including claims against third parties asserting alter ego claims, fraudulent transfer
claims or any other type of successor liability; provided, however, this provision does not in any
manner bar or interfere with claims, if any, by the holder of any Allowed Secured Claim, to seek
recovery of any missing, converted, or unaccounted for Collateral. Notwithstanding anything to
the contrary set forth herein, neither the Disclosure Statement nor this Amended Plan of
Reorganization shall be construed as discharging the Debtor with respect to the claims asserted
by Lisa Gregory in Case No. 22-001693-CV-85, styled, Lisa Gregory v. Palasota Contracting,
LLC et al, pending in the 85th Judicial District Court, Brazos County, Texas (the “Brazos
County Lawsuit”). In addition, the Agreed Order (i) Modifying Automatic Stay Under Section
362 of the Bankruptcy Code for the Purposes of (A) Allowing For Prosecution of the Civil
Lawsuit Now Pending in the District Court of Brazos County, Texas and (B) Allowing Recovery
and Collection Against Debtor’s Applicable Insurance [Docket No 83] (the “Agreed Order”) is
fully incorporated into the Plan. Notwithstanding anything to the contrary set forth in this Plan or


4887-0125-4020 v.1
          Case 23-31447 Document 219 Filed in TXSB on 03/14/24 Page 9 of 9




Debtor’s Disclosure Statement, the Plan shall not affect in any way the rights, remedies and
recourses of Ms. Gregory to liquidate her claims against all Defendants, including the Debtor, in
the pending Brazos County Lawsuit to final judgment and to collect upon any applicable
insurance of the Debtor or against any non-debtor party, their assets, or their applicable
insurance.

         58. Nothing in this Order or the Plan discharges, releases, precludes, or enjoins: (i) any
liability to any Governmental Unit that is not a Claim; (ii) any Claim of a Governmental Unit
arising on or after the Confirmation Date: (iii) any police or regulatory liability to a
Governmental Unit that any entity would be subject to as the owner or operator of property after
the Confirmation Date, including any police or regulatory liability, if any; or (iv) any liability to
a Governmental Unit on the part of any non-debtor. Nor shall anything in this Order or the Plan
enjoin or otherwise bar a Governmental Unit from asserting or enforcing, outside this Court, any
liability described in the preceding sentence. Notwithstanding any provision of the Plan, this
Order, or any implementing or supplementing plan documents, Governmental Units' setoff rights
under federal law as recognized in section 553 of the Bankruptcy Code, and recoupment rights,
shall be preserved and are unaffected. Nothing in this Order or the Plan divests any tribunal of
any jurisdiction it may have under police or regulatory law to interpret this Order or the Plan to
adjudicate any defense asserted under this Order or the Plan.”

       59. To the extent there is a conflict between the Plan and this Order, the terms of the
Order shall control.




   Signed: March 14, 2024
Dated: _____________________                  ______________________________________
                                              HONORABLE EDUARDO RODRIGUEZ,
                                              UNITED STATES BANKRUPTCY JUDGE

                                                                 Eduardo V. Rodriguez
                                                          Chief United States Bankruptcy Judge




4887-0125-4020 v.1
